IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

ln re: ) Chapter ll
)
TINTRI, INC.,l ) Case No.: 18-11625 (KJC)
` )
Debtor. )
CERTIFICATE OF SERVICE

 

I, Colin R. Robinson, hereby certify that on the 27th day of Septelnber, 2018, l
caused a copy of the following document(S) to be Served on the individuals on the attached

service list in the manner indicated:

Notice of Motion Pursuant to Section 365(a) of the Bankruptcy Code for an
Order (A) Authorizing the Debtor to Reject a Nonresidential Real Property
Lease and Abandon any Personal Property Located at Such Premises and
(B) Fixing a Bar Date for Claims of Landlord; and

Motion Pursuant to Section 365(a) of the Bankruptcy Code for an ()rder (A)
Authorizing the Debtol' to Rej ect a Nonresidential Real Property Lease and
Abandon any Personal Property Located at Such Premises and (B) Fixing a
Bar Date for Claims of Landlord.

/S/ Colin R. Robinson
Colin R. Robinson (Bar No. 5524)

 

l The Debtor and the last four digits of its taxpayer identification numbers are (6978): The headquarters and service
address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.

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Tintri 303 Ravendale Lease‘Re'j ection Service LiSt (FCl\/l)
ease No. 1841625 (KJC) * '

Docurnent No. 221243 . v

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Menlo Park, CA 94025

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Tintri 2002 service List (FCM)
Cas_e No. 18~11625 (KJC)
Document No. 220165

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